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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN THE MATTER OF:                                          MISCELLANEOUS                 f:/Lf2D
DALE ROBERT WILES                                          NO. 16-mc-0016              JUN 25 20!9
                                                                                B ,__KliTE/!fifJJ!M,
                                                                                 :Y~~N.c1etk
                                                                                     DiJP. Clerk
                                           ORDER

              AND NOW, this           ~~-Vayof June, 2019, respondent having been
ordered on May 10, 2019, to show cause, within thirty (30) days, why he should not be

suspended on consent from the practice of law in this court for a period of five (5)

years , retroactive to January 26, 2016 , and respondent not having answered or

requested a hearing, it is hereby

               ORDERED that respondent is suspended on consent from the practice

of law in this court for a period of five (5) years , retroactive to January 26 , 2016 , and

until further Order of this court.



                                                BY THE COURT:
